                  .         Case 1:06-cr-00381-LJO Document 40 Filed 01/22/07 Page 1 of 3
          A 0 199A (Rev. 3/87) Ordcr Scuing Condirionr of Rclcasc                                                           Pagc I of       I'ages




                                     Bniteb States District Court.
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                                                                               DISTRICT OF
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                        UNITED STATES OF AMERICA                    A ,.,,      ,,   ,:   ,. ,"/
                                         v.                                 . . .-I-. I,.-..
                                                        C I, -L- , . ..: L,L,;...I!
                                                      EAL                '             , .OR~.ER
                                                                                               SETTING CONDITIONS
                                                                             DEPUTY CLERK                      OF RELEASE


-
                                     Defendant
                                                                                             Case Nu~llber:
                                                                                                              .'   04
                                                                                                                    @      083r/
                      IT IS ORDERED that the release ol' the defendant is subject to thc l'ollowing conditions:

                        (1) The defendant shall not commit any offense in violation of federal. slate or local law while on rclca.se in this
                            case.

                        (2) The dcfendant shall i~nnlediatelyadvise the court, defense counsel and the U.S. attorney in writing of any
                            change in address and telephone number.

                        (3) The defendant shall appear a1 all proceedings as required and shall




                                          Release on Personal Recognizance or Unsecured Bond
                      IT IS FURTHER ORDERED that the defendant be released provided that:

           ( /)         (4) The defendant promises to appear at all proceedings as required and to surrendcr for service of any sentence
                            imposed.

           (          ) ( 5 ) The defendant executes an unsecured bond binding (he defendanr to pay the United States the sum of

                                                                                                       dollars ($                          1
                            in the event of a failurc to appear as required or to surrender as directed for service of any sentence imposcd.




W H I T E COPY   - COURT            YELLOW - DEFENDANT              B L U E - U.S. ATTORNEY            PINK. US. MARSHAL   G R E E N - PRETRIAL SERVICES
                   Case 1:06-cr-00381-LJO Document 40 Filed 01/22/07 Page 2 of 3 Y
P A ~ H E C O~, a r l o s
06-0381 OWW
                              ADDITIONAL CONDITIONS OF RELEASE                                                                                     -        It




         Upon finding that release by oneoftheabovemethods will not by itselfreasonably assure theappearanceofthedefendant
and the safety ofother persons and the community, it is F U R T H E R O R D E R E D that the release of the defendant is subject to the
conditions marked below:

(X)       (6)        Thc defendant is placed in the custody of:

                     Name of person or organization Rito Moreno

who agrees (a) to supervise the defendant in accordancc with all conditions of release,
(b) to use every effort to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears.

                     SIGNED:         12.7-0 i"@&C                    h0
                                            CUSTODIAN O R PROXY

(X)   .   (7)        The derendant shall:
          (X)    '   (a)      maintain or actively seek employmenl. and provide proof thereofto the IPS0 upon request.
          ( )        (b)      maintain or commence an educational program.
          (XI        (c)      abide bv the following restrictions on his personal associations. place ofabode, or travel:
                              Reside at a residence approved by Pretrial Services. and not move or be absent from thisresidence for more than 24 hrs.
                              without prior a~provalofI'SO: travel restricted to the Eastern District ofCalifornia. unless otherwise approved in advanee
                                -~

          (X)        (d)        avoid all contact with the following named persons, who are eonsidered either alleeed victims or potenlial wilnesses:
                                Fortunato Chavez Beas, Junn Solis Jimenez. Arturo Javier Rosalcs, and l-lector Garcia Ramirez. unless in the prcsenec o f
                                counsel or otherwise approved in advanee bv the I'SO.
          (XI        (e)        repon on a regular basis to the following agency:
                                Pretrial Services and eomply wilh their rules and regulations.
          ( )        (0         eomply wilh the following curfew:
          ( )        (g)        refrain from possessing a firearm, deslruetive deviee, or other dangerous weapon.
          ()         (h)        refrain from excessiveuseofalcohol, and any useorunlawful possessionofanareoticdrugandother eontrolled substanees
                                defined in 21 USC $802 unless prescribed by a licensed medical praelilioner.
          0          (0         undergo medical or psyehiatrie treatment andlor remain in an institution, as follows: Including treatment for drug andlor
                                alcohol dependency, and pay for costs as approved by the PSO.
          )          U)         5 ~ 1 c u l3r .hdnd ,>r ~n ~erccmunt10 forfc~lupon fallme I~I    appear or E ~ ~ l u10
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                                post with the coun the following indieia or ownership o f the above-described property, or the following amount or
                                percentage o f the above-described money:
                                execute a bail bond with solvenl surelics in the amount o f $
                                return to custody each (week)day as o f o'clock after being released each (weck)day as o f o'clock for employment.
                                schooling, or the following limited purpose(s):
                                surrender vour Mexical passport to the Clerk, United States Dislriet Court.
                                obtain no passport durine the ~endencyofthis case.
                                reDort in person lo the Pretrial Services Agency on the first working day following your release from custodv.
                                submil to drug and/or aleohol testing as directed by PSO.
                                report any prescriptions lo PSO within 48 hours ofreceipl.
                                participate in one ofthe followinghome confinement progrnm components and abide by all the requirements o f the program
                                which ( ) will or ( ) will not inelude eleetronie monitoring or other loealion verilication system.
                                ( ) (i) Curfew. You are restricted lo your residence every day ( )from                                   to                            , or
                                                 ( ) as directed by the Pretrial Services ollice or supervising omcer; or
                                ( ) (ii) Home Detention. You are restricted to your rcsidenec at all times cxeept for employment; education;
                                                 religious services; or mental health treatment: attorney visits; coud appearances; court-ordered obligations;
                                                 or other activities as prc-approved by the Pretrial Services office or supervising officer; or
                                ( ) (iii) Home Incarceration. You are reslrictcd to your residenee at all times exeept for medieal needs or treatment,
                                                religious services, and coun appearances pre-approved by the Pretrial Services ofiee or supervision oficer.




(Copier lo: Defendant, US Altorney. US Marshal, Pretrial Services)
                        Case 1:06-cr-00381-LJO Document 40 Filed 01/22/07 Page 3 of 3

                                                                   nalties and Sanctions




V        A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest.
    a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment.
    a hne, or borh.
        The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
    not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year. if the offense is a mis-
    demeanor. This sentence shall be in addition to any other sentence.
         Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
    investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness. vic-
    tim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a
    witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
    more serious if they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence.
    you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicred of:
         (1) an offense punishable by death. life imprisonment, or imprisonment for a term of fifteen years or more. you shall be fined
              not more than $250,000 or imprisoned for not more than 10 years. or both;
         (2) an oftense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
              more than $250,000 or imprisoned for not more than five years, or both:
         (3) any other felony, you shall be fined not more than $250.000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
    In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                      Acknowledgement of Defendant
         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all condi-
    tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions
    set forth above.



                                                                              .
                                                                                                         Address




                                                Directions to United States Marshal
      /
( )     The defendant is ORDERED released after processing.
(     ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
        defendant has posted bond andlor complied with all other                                                           duced before the
        appropriate j dicia               e and place specified,
        Date:    1     19

                                                                                            Name and Title of Judicial Officer




                                YELLOW- DEFENDANT             BLUE - U S ArrORNEY         PINK - U S MARSHAL           GREEN - PRETRIAL SEWICES
